
69 So. 3d 1038 (2011)
Jason S. LOVIER, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D11-2539.
District Court of Appeal of Florida, Fifth District.
September 16, 2011.
Jason S. Lovier, Carrabelle, pro se.
Pamela J. Bondi, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion will be filed with the lower court and be treated as the notice of appeal from the order denying the motion for post-conviction relief in Case No. 2007-0636-CFAWS in the Circuit *1039 Court in and for Volusia County. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
GRIFFIN, MONACO and JACOBUS, JJ., concur.
